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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

APPEAL COVER SHEET

Appellant Appellee
FLORIDA TAX COLLECTORS WINN-DIXIE STORES, INC., et al.

Bankruptcy Case No. 95-03817-3F1 Adversary Case No.

Attorney: (Name, Address and Telephone Number) Attorney: (Name, Address and Telephone Number)
Brian T. Hanlon, Esq. D. J. Baker, Esq. Stephen D. Busey, Esq.

PO Box 3715 Four Times Square 225 Water Street, Suite 1800
West Palm Beach, FL 33402-3715 New York, NY 10036 Jacksonville, FL 32202

p: 561-355-2142 p: 212-735-3000 p: 904-359-7700

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Check appropriate item

Appeal pursuant to 28 USC §158

Notice of Appeal filed: January 26, 2007
Date of Order Appealed: January 19, 2007
Title of Order Appealed: Order Granting in Part and Denying in Part Florida Tax Collectors’ Motion to Dismiss Debtors’ Objection to Florida Tax Claims and Motion for Order Determining Tax Liabilities

Debtor’s County of Residence: >!

[_] Motion to Withdraw Reference
Filed: By:

[-] Interlocutory Appeal
Title of Interlocutory Order or Decree:
Date of Order or Decree:
Brief Description of Matter Appealed:

[_] Motion for Leave to Appeal
Date Filed:

[J Other

[_] Designation in Appeal
Have arrangements been made with a Court Reporter for Transcript? Yes LJ No
If not, do you intend to do so? []Yes [| No _ Ifordered, on what date?

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AttorneyyA ppellant

